        Case 1:22-cr-00336-SAG Document 107 Filed 05/29/23 Page 1 of 2



                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                     *
                                              *
       v.                                     *      CRIMINAL NO. SAG-22-336
                                              *
ANNA GABRIELIAN &                             *
 JAMIE LEE HENRY,                             *
                                              *
              Defendants                      *
                                           ******

         PROPOSED VERDICT FORM – DEFENDANT ANNA GABRIELIAN

Count One: Conspiracy to An Offense Against the United States

      How do you find the defendant, ANNA GABRIELIAN, as to Count One of the Indictment?

             Not Guilty ______                    Guilty ______


      If Not Guilty, move on to the questions for Count Two, you do not need to answer any
      further questions for Count One.

      If Guilty, how do you unanimously find the defendant, ANNA GABRIELIAN, as to her
      intent in conspiring to transfer IIHI (check at least one):

             Personal Gain ______                 Malicious Harm________

Count Two: Wrongful Disclosure of Individually Identifiable Health Information (IIHI)

      How do you find the defendant, ANNA GABRIELIAN, as to Count Two of the
      Indictment?

             Not Guilty ______                    Guilty ______

      If Not Guilty, move on to the questions for Count Three, you do not need to answer any
      further questions for Count Two.

      If Guilty, how do you unanimously find the defendant, ANNA GABRIELIAN, as to her
      intent in transferring IIHI (check at least one):

             Personal Gain ______                 Malicious Harm________

Count Three: Wrongful Disclosure of Individually Identifiable Health Information (IIHI)


                                             1
         Case 1:22-cr-00336-SAG Document 107 Filed 05/29/23 Page 2 of 2




       How do you find the defendant, ANNA GABRIELIAN, as to Count Three of the
       Indictment?

              Not Guilty ______                     Guilty ______

       If Not Guilty, you do not need to answer any further questions for Count Three.

       If Guilty, how do you unanimously find the defendant, ANNA GABRIELIAN, as to her
       intent in transferring IIHI (check at least one):

              Personal Gain ______                  Malicious Harm________


The foregoing constitutes the unanimous verdict of the jury.




DATE                                                FOREPERSON




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